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 1                                                                      THE HONORABLE RICHARD A. JONES

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 9
                                         IN THE UNITED STATES DISTRICT COURT
10
                                   FOR THE WESTERN DISTRICT OF WASHINGTON
11

12            ABRAHAM LEAVITT,                                Case No. 2:23-cv-01817-RAJ
                           Plaintiff,
13                                                            Plaintiff’s Opposition to Defendant’s
                             vs.                              Motion to Dismiss the Initial Pro Se
14                                                            Complaint
              CENTRAL CREDIT, LLC,
15                           Defendant.
                                                              NOTING DATE: July 8, 2024 (as re-noted)
16
                Defendant Central Credit LLC (“Defendant” or “Central Credit”) has filed a motion to
17
     dismiss. It should be denied or, in the alternative, leave to amend should be granted. Four points in
18
     response are key. First, upon acceptance of the filing of an amended complaint to supersede the
19
     operative pro se complaint, the motion to dismiss should be denied as moot. That’s perhaps the
20
     easiest way to dispose of the motion to dismiss. See Section I, infra. Second, the motion to dismiss
21
     should be stricken for failure to comply with the spirit of the Court’s meet-and-confer requirement.
22
     While there were several meet and confers, Defendant’s counsel did not meet and confer about entire
23
     claims and did not meet about entire elements that are not being challenged. See Section II, infra.
24
     Third, while the motion to dismiss is correct about the furnisher claims, it is not correct on the merits
25 as to the CRA claims and is not correct about the state-law claims. See Section III, infra. Fourth, as

26 this motion to dismiss is direct to a pro se complaint, leave to amend to correct any deficiencies should
27 be granted—even if the Court disagrees on all other fronts.

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     Plaintiff’s Opposition to Defendant’s                                             DIGITAL JUSTICE FOUNDATION
     Motion to Dismiss Pro Se Complaint                                    15287 Pepperwood Drive, Omaha, NE 68154
                                                                                                     (531) 210-2381
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16 Rodriguez v. Loancare LLC, 2024 U.S. Dist. LEXIS 11215 (S.D. Cal. Jan. 17, 2024) ...................... 6

17 Scheibe v. GlaxoSmithKline Consumer Healthcare Holdings US LLC, 2024 U.S. Dist. LEXIS
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                      All emphasis added unless otherwise indicated. Citations are to the ECF pagination, not internal pagination.
28 For quoted authorities, internal brackets, quotations marks, citations, and the like are omitted for ease of reading.
                                                                3
       Plaintiff’s Opposition to Defendant’s                                                                          DIGITAL JUSTICE FOUNDATION
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 1                                               ISSUES BEFORE THE COURT

 2        1. Mootness: Whether Defendant’s motion to dismiss the pro se initial complaint becomes moot
 3              upon acceptance by the Court of a first-amended complaint drafted by counsel.
 4

 5        2. Meet & Confer: Whether Defendant should have raised arguments during the Court-ordered

 6              pre-filing meet and confer or whether Defendant may surprise attack with arguments not
 7              discussed.
 8

 9        3. Motion to Dismiss: Whether the motion to dismiss

10
                       a. Standard: Whether Defendant’s request for more details really sounds in a Rule 12(b)
11
                           motion to dismiss or is functionally a Rule 12(e) motion for a more definite statement
12

13
                       b. Falsehoods: Whether certain false statements in the motion to dismiss can be accepted
14
                           without substantiation and/or contrary to Defendant’s own SEC filings.
15

16                     c. 1681s-2: Whether a claim has been stated as to 1681s-2.2
17
                       d. 1681e/i: Whether a claims has been stated as to 1681e/i.
18

19
                       e. WFCRA: Whether state-law claims have been stated.
20

21        4. Leave to Amend: Whether leave to amend should be freely granted, even if the Complaint is
22              deficient.
23

24

25

26
27
                2
                    Plaintiff does not intend to include furnisher claims in the amended complaint. But, Plaintiff reserves the
28 right to conduct further investigation into these claims.
                                                                     4
     Plaintiff’s Opposition to Defendant’s                                                             DIGITAL JUSTICE FOUNDATION
     Motion to Dismiss Pro Se Complaint                                                    15287 Pepperwood Drive, Omaha, NE 68154
                                                                                                                     (531) 210-2381
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 1                                                      ARGUMENT

 2      I.      THE FILING OF A FORTHCOMING FIRST-AMENDED COMPLAINT WOULD RENDER THE
                MOTION TO DISMISS MOOT AND UNNECESSARY TO DECIDE.
 3
                Plaintiff intends to move for leave to file a first-amended complaint3 to amend the pro se
 4

 5 complaint that Mr. Leavitt drafted and filed, prior to having representation. See Dkt.20 at 4 (“Plaintiff

 6 Abraham Leavitt filed this action pro se[.]”) (citing Dkt. 1). This forthcoming amended complaint

 7 will moot Defendant’s pending motion to dismiss, rendering the remainder of this briefing

 8
     unnecessary to decide.
 9
                First, a pending motion to dismiss is mooted when an amended complaint is filed. E.g.,
10
     Ramirez v. County of San Bernardino, 806 F.3d 1002, 1008 (9th Cir. 2015) (“Because the Defendants'
11

12 motion to dismiss targeted the Plaintiff’s First Amended Complaint, which was no longer in effect,

13 we conclude that the motion to dismiss should have been deemed moot before the district court

14 granted it.”); Hardesty v. Sacramento Metro. Air Quality Mgmt. Dist., 2012 U.S. Dist. LEXIS 44311,

15 *6 (E.D. Cal. March 29, 2012) (“[W]hen an amended complaint is filed while a motion to dismiss is

16
     pending, it generally moots the motion to dismiss.”); Brown v. Bos. Sci. Corp., 2022 U.S. Dist. LEXIS
17
     44868, *2 (W.D. Wash. March 14, 2022) (“When an amended complaint is filed while a motion to
18
     dismiss is pending, it generally moots the motion to dismiss.”); M.G. v. Bainbridge Island Sch. Dist.
19

20 #303, 2023 U.S. Dist. LEXIS 65283, *3 (W.D. Wash. April 13, 2023) (“Where a motion to dismiss

21 targets a complaint that has been superseded by an amended complaint, the court should deem the

22 motion to dismiss moot.”); TI, Ltd. v. Grupo Vidanta, 2019 U.S. Dist. LEXIS 186668, *2 (S.D. Cal.

23
     Oct. 28, 2019) (“moot once the Amended Complaint was filed.”); Xiaohua Huang v. Genesis Global
24
     Hardware, Inc., 2020 U.S. Dist. LEXIS 201167, *1 (E.D. Cal. Oct. 28, 2020) (“moot once the
25

26
27             We respectfully disagree with Defendant’s assertion that stipulating, on Defendant’s request, to deem the pro
                3

     se complaint to refer to Central Credit rather than Everi is the equivalent of a wholesale amended complaint. Regardless,
28   the Court need not decide that issue as the motion to amend will moot it.
                                                                5
     Plaintiff’s Opposition to Defendant’s                                                       DIGITAL JUSTICE FOUNDATION
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 1 Amended Complaint was filed.”); Krieger v. Atheros Communs., Inc., 2011 U.S. Dist. LEXIS 68033,

 2 *2-3 (N.D. Cal. June 25, 2011) (“denied without prejudice as moot”); Hernandez v. Radio Sys. Corp.,

 3
     2023 U.S. Dist. LEXIS 13866, *1-2 (C.D. Cal. Jan. 26, 2023) (“A superseding complaint moots
 4
     Defendant’s Motion to Dismiss Complaint.”); Barton v. Serve All Help All, Inc., 2021 U.S. Dist.
 5
     LEXIS 160053, *2 (W.D. Wash. Aug. 24, 2021) (“Where a motion to dismiss targets a complaint that
 6

 7 has been superseded by an amended complaint, the court should deem the motion to dismiss moot.”).

 8
                Second, the motion to dismiss becomes moot whether the amended complaint is filed as a
 9
     matter of right or by motion. E.g., Scheibe v. GlaxoSmithKline Consumer Healthcare Holdings US
10

11 LLC, 2024 U.S. Dist. LEXIS 40616, *2-3 (S.D. Cal. Feb. 15, 2024) (“Plaintiff's Second Amended

12 Complaint superseded the original Complaint and First Amended Complaint. Because Defendant’s

13 first Motion to Dismiss targeted Plaintiff's original Complaint, which is no longer the operative

14 pleading, the first Motion to Dismiss is rendered moot.“); Jimenez v. Homecomings Fin., 2009 U.S.

15
     Dist. LEXIS 54916, *3 (N.D. Cal. June 11, 2009) (“once filed, the Second Amended Complaint
16
     supersedes Plaintiff’s First Amended Complaint [...] Consequently, Defendant’s pending Motion to
17
     Dismiss Plaintiff's First Amended Complaint is rendered moot.”); Infogation Corp. v. Google LLC,
18

19 2021 U.S. Dist. LEXIS 181274, *23 (S.D. Cal. Sept. 21, 2021) (“the Court denies Google’s motion

20 to dismiss the first amended complaint as moot. The Plaintiff's Second Amended Complaint

21 superseded the First Amended Complaint”); Maag v. U.S. Bank, Nat'l Ass'n, 2021 U.S. Dist. LEXIS

22
     20832, *2-3 (S.D. Cal. Feb. 3, 2021) (“In light of Plaintiffs’ amended pleading, the Court denies as
23
     moot Defendants’ partial motion to dismiss the first amended complaint without prejudice to
24
     Defendant U.S. Bank moving to dismiss the second amended complaint.”); Rodriguez v. Loancare
25
     LLC, 2024 U.S. Dist. LEXIS 11215, *2 (S.D. Cal. Jan. 17, 2024) (“[T]he Plaintiff's Second Amended
26
27 Complaint superseded the First Amended Complaint, and the First Amended Complaint ceased to

28
                                                      6
     Plaintiff’s Opposition to Defendant’s                                         DIGITAL JUSTICE FOUNDATION
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 1 exist. Because the Defendants’ motion to dismiss targeted the Plaintiff's First Amended Complaint,

 2 which was no longer in effect, we conclude that the motion to dismiss should have been deemed

 3
     moot.”); Kessler v. State Farm Fire & Cas. Co., 2024 U.S. Dist. LEXIS 8672, *4 (W.D. Wash. Jan.
 4
     17, 2024) (motion to dismiss pro se second-amended complaint mooted by attorney-drafted third-
 5
     amended complaint).
 6

 7

 8              Third, Plaintiff’s forthcoming amended complaint will moot Defendant’s pending motion to

 9 dismiss. This attorney-drafted, amended complaint is going to add both new legal claims and new

10 factual allegations supporting the existing claims. Notably, Mr. Leavitt was operating pro se when

11
     drafting the initial complaint. See Dkt.20 at 4 (“filed this action pro se[.]”); Dkt.1. Since being
12
     retained, Mr. Leavitt’s non-profit counsel have conducted extensive legal research and factual
13
     investigation into these claims. The forthcoming, counsel-drafted amended complaint will moot
14

15 Defendant’s pending motion to dismiss the pro se complaint. See, e.g., Braswell v. Muncie, 2021

16 U.S. Dist. LEXIS 166403, *4 (S.D.W.V. Sept. 2, 2021) (“Defendants’ motion to dismiss the pro se

17 complaint will be rendered moot by the filing of the amended complaint.”); Kessler, 2024 U.S. Dist.

18 LEXIS 8672, at *4 (W.D. Wash. Jan. 17, 2024) (motion to dismiss pro se second-amended complaint

19
   moot in light of the filing of an attorney-drafter third amended complaint).
20
                                                   *****
21
          The simplest way to address Defendant’s Motion to Dismiss the pro se complaint is to
22

23 recognize that this pending motion will be moot once the attorney-drafted amended complaint is filed

24 and grant leave to file that complaint. At that point, Defendant can file a new motion to dismiss the

25 amended complaint should it so choose.

26
27

28
                                                       7
     Plaintiff’s Opposition to Defendant’s                                          DIGITAL JUSTICE FOUNDATION
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 1    II.       THE MOTION TO DISMISS RAISES ARGUMENTS THAT WERE WHOLLY LACKING FROM THE
                PRE-FILING MEET AND CONFERS BETWEEN COUNSEL.
 2
                The Court maintains a meet-and-confer requirement as part of the individual practices, which
 3

 4 set out the requirement in some detail:

 5              For all cases, except applications for temporary restraining orders, counsel
                contemplating the filing of any motion shall first contact opposing counsel to discuss
 6              thoroughly, preferably in person, the substance of the contemplated motion and any
                potential resolution. The Court construes this requirement strictly. Half-hearted
 7              attempts at compliance with this rule will not satisfy counsel’s obligation. The parties
 8              must discuss the substantive grounds for the motion and attempt to reach an accord that
                would eliminate the need for the motion. The Court strongly emphasizes that
 9              discussions of the substance of contemplated motions are to take place, if at all possible,
                in person. All motions must include a declaration by counsel briefly describing the
10              parties’ discussion and attempt to eliminate the need for the motion and the date of such
                discussion. Filings not in compliance with this rule may be stricken.
11

12 Chambers Procedures of the Honorable Richard A. Jones, II General Motions Practice (emphasis in

13 original). Plaintiff’s counsel understand that an important purpose of this requirement is to ensure

14 that the counsel discuss and narrow issues prior to briefing motions for the Court. Indeed, the Court’s

15 emphasis seems to indicate that it wants the attorneys to discuss the argument even on dispositive

16
     motions to try to narrow differences.
17
                There are many aspects of the motion to dismiss that were not raised by Defendant’s counsel
18
     in the motion to dismiss. Four are worth emphasizing because they are completely surprising to us
19

20 in the sense that we did not discuss them in any telephonic meet and confers of any kind.

21              First, Defendant’s counsel did not discuss the Washington state-law claims whatsoever.

22 There was no discussion in the meet and confers beyond federal law at all. To our recollection, they

23
     were not discussed and not raised. Yet, the motion to dismiss lodges numerous challenges—never
24
     discussed—against the state-law claims.
25
                Second, Defendant’s counsel affirmatively indicated that Plaintiff’s counsel could assumed
26
     that Defendant was a consumer reporting agency for purposes of the federal FCRA. There was no
27

28 discussion at meet and confers that this was insufficiently pleaded or that this would be challenged.
                                                     8
     Plaintiff’s Opposition to Defendant’s                                                DIGITAL JUSTICE FOUNDATION
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 1              To the contrary, the primary focus of the meet and confers was 15 U.S.C. § 1681i—a section

 2 of FCRA that specifically applies to consumer reporting agencies / CRAs. So, the challenge in the

 3
     motion to dismiss that the CRAs were insufficiently pleaded was a surprise to us. While Defendant
 4
     can certainly ask for this point to be demonstrated, this argument was a surprise to Plaintiff’s counsel
 5
     because the premise of the discussions had been that Defendant is a CRA.
 6
                Third, the primary focus of the meet and confer was FCRA noncompliance. Defendant’s
 7

 8 counsel never brought up negligence and willfulness standards—meaning that the mental states were

 9 not discussed. It’s by no means disputed that these are not integral part of private FCRA actions.

10 Yet, if a defendant is going to challenge the mental-state requirements, then that should be discussed

11
     in meet and confer to avoid burden on the Court of adjudicating these standards.
12
                Fourth, the meet and confers did not discuss 1681s-2 or 1681e claims at all. Rather, they
13
     focused on 1681i claims in their entirety.
14

15              While Plaintiff’s counsel are cognizant of the fact that arguments will develop over the course

16 of drafting briefs and that it’s not possible to reach each and every nuance of a forthcoming motion,

17 omitting to address (1) entire claims and (2) entire elements of a claim (especially those that the meet

18 and confers suggest such an element is not disputed like the CRA) is not in the spirit of meet-and-

19
   confer. While Plaintiff’s counsel is not suggesting that Defendant’s counsel engaged in misconduct,
20
   it is submitted that the inclusion of arguments not addressed in a meet and confer—and some that are
21
   directly contrary to what was discussed in a meet and confer—should not be rewarded.
22

23              Ultimately, the motion to dismiss should be denied as moot. But, it could also be stricken in

24 major part for including issues—arguments on entire elements and claims—nowhere raised in a meet

25 and confer. And, Plaintiff’s counsel believes that the Court should so clarify its expectations on the

26
     specificity of issues raised in meet and confer in fulfillment of the spirit of the meet-and-confer
27
     requirement.
28
                                                           9
     Plaintiff’s Opposition to Defendant’s                                              DIGITAL JUSTICE FOUNDATION
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 1   III.       THE MOTION TO DISMISS IS FLAWED IN MANY RESPECTS AND SHOULD BE DENIED ON THE
                MERITS UNDER EXISTING LAW AND STANDARDS.
 2
                A. Rule 12 Legal Standards
 3
                The gravamen of the motion to dismiss is that it is in actuality seeking additional details about
 4

 5 the claims. And, in this sense the motion to dismiss betrays a basic confusion about the difference

 6 between a Rule 12(b) motion (which is only appropriate when there are no supporting factual

 7 allegations and just legal conclusions) and a Rule 12(e) motion (where the defendant wants additional

 8
     factual details to assist in its investigation of the claim). The reason that courts disfavor these kind
 9
     of “more details” requests is that they are not genuine requests for details. They’re not really
10
     stemming from curiosity in most cases, but rather a defendant that just doesn’t want to account in
11

12 court for its legal violation. In short, such requests for additional details are often dilatory tactics that

13 slow play litigation, burden courts, and avoid the procedures and court processes of discovery wherein

14 the precise details come to life.

15              First, much of what the motion to dismiss characterizes as ipse dixit “conclusory” are actually
16
     allegations of fact—not legal conclusions. For example, Central Credit’s the sending of false credit
17
     reports—are actually factual allegations. It’s not a legal conclusion and that’s well-settled: whether
18
     something is false is a factual question, not ripe for resolution at the motion to dismiss posture. See,
19

20 e.g., Forsberg v. Fid. Nat’l Credit Servs., 2004 U.S. Dist. LEXIS 7622, *13-14 (S.D. Cal. Feb. 25,

21 2004) (“Whether the notice given was ‘false, deceptive, or misleading’ is a factual question, which

22 may not be determined in a motion to dismiss.”); Theodore v. Purecycle Techs., Inc., 2022 U.S. Dist.

23
     LEXIS 243150, *30 (M.D. Fla. Aug. 4, 2022) (“[A]t the pleading stage for whether a statement is
24
     false, a court is directed to accept well-pled allegations as true.”); S.S. Trade Ass’n of Balt.-Int’l
25
     Longshoreman’s Ass’n Pension Fund v. Olo Inc., 2023 U.S. Dist. LEXIS 128587, *9 (S.D.N.Y. July
26
     25, 2023) (“Since whether a statement is false or misleading is a question of fact, it is inappropriate
27

28 to resolve such disputes on a motion to dismiss[.]”).
                                                     10
     Plaintiff’s Opposition to Defendant’s                                                DIGITAL JUSTICE FOUNDATION
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 1              Second, the request for further details regarding these allegations of fact actually sounds in a

 2 Rule 12(e) motion for a definite statement—but Defendant never sought the relief of a more definite

 3
     statement. And, indeed, insofar as the forthcoming attorney-drafted complaint will be opposed, it
 4
     goes to show that Defendant doesn’t really want more details and is not really suggesting the claims
 5
     are implausible, it just doesn’t want to face accountability for its deficient dispute-resolution
 6

 7 processes for those it does credit reporting on. Ultimately, the request for more details is not how

 8 cases should be decided because the allegations if truly taken as true do state a claim. E.g., One

 9 Indus., LLC v. Jim O’Neal Distrib., 578 F.3d 1154, 1160 (9th C ir. 2009) (“We encourage district

10 courts to avoid resolving merits issues, especially fact-sensitive questions, on Rule 12(e) motions.”);

11
     Asad v. Providian Bank, N.A., 234 F. App’x 511, 511-512 (9th Cir. 2007) (“Even though a complaint
12
     is not defective for failure to designate the statute or other provision of law violated, the judge may
13
     in his discretion, in response to a motion for more definite statement under Federal Rule of Civil
14

15 Procedure 12(e), require such detail as may be appropriate”); CMAX, Inc. v. Hall, 290 F.2d 736, 738

16 (9th Cir. 1961) (“While the motion asserted that the complaint was subject to these infirmities, it is

17 difficult to find any such vagueness or ambiguity in view of the principles of pleading set up by the

18 rules of civil procedure, which established a system of pleading with simplified and brief forms of

19
   complaint.”).
20
           Third, in this respect, the motion to dismiss does not abide the Rule 12(b) standard. It doesn’t
21
   do a genuine job of accepting the factual allegations as true. Rather, it does something else: it tries
22

23 to reframe and transform facts into lack and then say that the facts are deficient. Yet, Twombly and

24 Iqbal merely held that the legal conclusions should not be considered—not that a Rule 12(e) standard

25 should supplant the Rule 12(b) standards / Rule 8 standards. Yet, that is the functional equivalent of

26
     what the motion to dismiss is doing here. And, regardless, the motion to dismiss is based upo plain
27
     falsehoods. See Section III.B, infra.
28
                                                          11
     Plaintiff’s Opposition to Defendant’s                                               DIGITAL JUSTICE FOUNDATION
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 1              B. Patent Falsehoods

 2              The Motion to Dismiss also relies on a series of falsehoods.
 3              First, the Motion to Dismiss falsely claims that Plaintiff is an attorney.                Dkt.20 at 3
 4
     (“Plaintiff—believed to be a lawyer—initially filed his complaint in this action pro se[.]”). He’s not
 5
     a lawyer and that affects the review of the pro-se drafted complaint. See, e.g., Krier v. Ray, 341 F.
 6
     App’x 295, 297 (9th Cir. 2009) (“the rule favoring liberality in amendments to pleadings is
 7

 8 particularly important for the pro se litigant. Before a district court may dismiss a pro se complaint

 9 for failure to state a claim, the court must provide the pro se litigant with notice of the deficiencies of

10 his or her complaint and an opportunity to amend the complaint prior to dismissal.”).

11
                The Motion’s false claim that Plaintiff is a lawyer is misleading and it remains unclear to
12
     Plaintiff’s counsel why Defendants believe that. Regardless, he is not a lawyer and that affects the
13
     review of this Motion attacking the pro se-drafted complaint. Moreover, it’s a bit ironic for Defendant
14
     to inaccurately claim Plaintiff is a lawyer—and to do so without identifying a source—because
15

16 Defendant is tasked with giving accurate information about Plaintiff and showing its sources. See,

17 e.g., 15 U.S.C. §§ 1681, 1681e(b), 1681g, 1681i.

18

19
                Second, Defendant’s Motion falsely suggests that Central Credit is somehow not “a consumer
20
     reporting agency” subject to FCRA and state laws. Dkt.20 at 9. Defendant’s argument that they are
21
     not a credit reporting service is specious and disingenuous. Simply put, this is not a good faith
22

23 argument.

24

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     Plaintiff’s Opposition to Defendant’s                                                 DIGITAL JUSTICE FOUNDATION
     Motion to Dismiss Pro Se Complaint                                        15287 Pepperwood Drive, Omaha, NE 68154
                                                                                                         (531) 210-2381
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 1              Indeed, Defendant Central Credit is well aware that it is governed by and subject to both fderal

 2 and state laws governing activities of consumer credit bureaus. Indeed, Defendant describes itself as

 3
     such to the SEC:
 4
                Credit Reporting. Our Central Credit gaming patron credit bureau services and
 5              check verification and warranty services are subject to the Fair Credit Reporting
                Act (the “FCRA”) and the Fair and Accurate Credit Transactions Act of 2003 (the
 6              “FACTA”) and their implementing rules, which require consumer credit bureaus,
                such as Central Credit, to provide credit report information to businesses only for
 7
                certain purposes and to otherwise safeguard credit report information, to disclose
 8              to consumers their credit report on request, and to permit consumers to dispute and
                correct inaccurate or incomplete information in their credit report. These laws and
 9              rules also govern the information that may be contained in a consumer credit report.
                We continue to implement policies and procedures as well as adapt our business
10              practices in order to comply with these laws and regulation. In addition to federal
11              regulation, our Central Credit gaming patron credit bureau services are subject to
                the state credit reporting regulations that impose similar requirements to the FCRA
12              and the FACTA.

13              SEC 10-K filing at 22-23.

14              These SEC public filings are subject to judicial notice. See FRE 201; Dreiling v. Am. Express
15 Co., 458 F.3d 942, 946 n.2 (9th Cir. 2006) (“We review de novo a dismissal under Rule 12(b)(6), and

16
     may consider documents referred to in the complaint or any matter subject to judicial notice, such
17
     as SEC filings.”); In re Amarin Corp. PLC Sec. Litig., 2021 U.S. Dist. LEXIS 59840, *24 (D. N.J.
18
     March 29, 2021) (“Form 10-Qs are an SEC filing routinely subject to judicial notice in this Circuit.”);
19

20 Mendoza v. HF Foods Grp., Inc., 2021 U.S. Dist. LEXIS 160982, *4 (C.D. Cal. Aug. 25 2021) (“the

21 Court may properly take judicial notice of SEC filings as they are public disclosure documents

22 required by law to be filed.”).

23
                These public SEC filings, subject to judicial notice, undermine Defendant’s specious
24
     suggestion that they are not engaged in credit reporting activities governed by the FCRA and state
25
     law credit reporting regulations. SEC 10-K at 12-13 (“Central Credit is our gaming patron credit
26
     bureau service[.]); Id. (“Our gaming credit reports comprise information recorded from patron credit
27

28 histories at hundreds of gaming operators.”); Id. (“These operators then use that data, among other
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 1 things, to determine how much credit, if any, they will grant to a gaming patron.”); Id. (“We typically

 2 charge our customers for access to gaming patron credit reports on a monthly basis and our fees are

 3
     generally comprised of a fixed minimum amount plus per-transaction charges for certain requests.”).
 4

 5
                Third, the Motion repeatedly, falsely claims that Plaintiff’s counsel conceded the complaint
 6

 7 doesn’t state a claim. E.g., Dkt.20 at 6 (“Plaintiff’s counsel conceded that the [complaint] does not

 8 state a claim”). That’s not true. Plaintiff’s counsel never conceded that the operative pro se complaint

 9 was deficient.

10              The best the undersigned can fathom is that Defendant’s counsel insisted that the complaint
11
     didn’t meet Twombly/Iqbal in a general fashion. Plaintiff’s counsel said, even if that were true,
12
     amendment would still be appropriate. See Section IV, infra. Plaintiff’s counsel, however, certainly
13
     did not take the position that the pro se-drafted complaint was deficient–because Plaintiff’s counsel
14

15 does not believe that to be true.          Rather, Plaintiff’s counsel think that Defendant’s counsel

16 misunderstand, in self-interested fashion, what it takes to plead a federal claim and overreads

17 Twombly / Iqbal. Plaintiff’s counsel thinks that Defense Counsel generally misreads the level of

18 factual allegation required to state a claim in federal court, overlooking the key distinction between a

19
   12(b) motion and a 12(e) motion.
20
           This series of falsehoods, upon which the Motion rests, also undermine the Motion.
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 1              C. 15 U.S.C. § 1681s-2

 2              Plaintiff does not intend to continue with a furnisher claims, so the furnisher claims can be
 3 dismissed—by being mooted with the amended complaint.

 4

 5              D. 15 U.S.C. § 1681e/1681i

 6              The Motions challenges to the remaining federal claims are misplaced.

 7              First, the Motion argues that the complaint fails to allege that Defendant is CRA. Dkt.20 at 8-
 8
     9. Yet, as discussed above, Defendant’s are clearly a CRA and that information is subject to judicial
 9
     notice. See Section, III.B, supra.
10
                Second, the Motion argues that the Complaint’s allegation that Defendant is a furnisher of
11
     information somehow precludes defendant from being a CRA. Dkt. 20 at 9 (“not a consumer reporting
12

13 agency, but rather a ‘furnisher of information’”). Yet, there’s nothing mutually exclusive about being

14 a furnisher and also being a CRA. Thus, thee complaint’s allegation that Defendant is a furnisher does

15 not entail that Defendant is not a CRA as the Motion erroneously argues.

16
                Third, the Motion incorrectly argues that the complaint fails to allege falsehood of the
17
     information. Dkt. 20 at 10 (“how such reports were false or inaccurate”). However, the Complaint’s
18
     factual allegation that Defendant “made false reports” that “Leavitt was in arrears and owed money”
19

20 is a factual allegation that must be credited as true on this posture. Dkt.1¶11; see, e.g., Forsberg, 2004

21 U.S. Dist. LEXIS 7622, at *13-14 (“Whether the notice given was ‘false, deceptive, or misleading’ is

22 a factual question, which may not be determined in a motion to dismiss.”); Theodore, 2022 U.S. Dist.

23 LEXIS 243150, at *30 (“[A]t the pleading stage for whether a statement is false, a court is directed

24
     to accept well-pled allegations as true.”); S.S. Trade Ass’n, 2023 U.S. Dist. LEXIS 128587, at *9
25
     (“Since whether a statement is false or misleading is a question of fact, it is inappropriate to resolve
26
     such disputes on a motion to dismiss[.]”).
27

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 1              Fourth, the Motion claims incorrectly that the complaint fails to allege negligence. Yet,

 2 negligence can be inferred from allegations about the breadth of defendants distribution of the

 3
     information. Dkt.1, ¶11; ¶15. See also, Section III.B., infra (discussing SEC report detailing scope of
 4
     operations). The standard of care is responsive to the scope and scale of Defendants’ consumer
 5
     reporting activities. At this posture, inferences can be drawn from these factual allegations in favor
 6

 7 of negligence.

 8              Fifth, given the operative pro se-drafted complaint, the liberal construction of these factual

 9 allegations and inferences drawn from them undermines the Motion’s arguments as to the federal

10 claims.

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 1              E. WFCRA / WCPA

 2              The Motion to Dismiss is also wrong regarding the complaint’s WFCRA/WCPA state law
 3 claims.

 4
                First, the Motion to Dismiss says that WFCRA doesn’t provide a private right of action.
 5
     Dkt.20 at 11 (“WFCRA does not provide a private right of action.”). That’s technically true, but
 6
     confuses matters and is little more than a red herring, here.
 7

 8              Critically, pleading a violation of WFCRA constitutes a violation of the WCPA. See e.g. Cain

 9 v. Trans Union LLC, 2006 U.S. Dist. LEXIS 25146, *17 (W.D. Wash. Feb. 9, 2006) (“RCW

10 19.182.150 explicitly makes a violation of the WFCRA a violation of the WCPA.”); RCW 19.182.150

11
     (“A violation of this chapter is an unfair or deceptive act in trade or commerce and an unfair method
12
     of competition for the purpose of applying the consumer protection act, Chapter 19.86 RCW.”);
13
     Handlin v. On-Site Manager, Inc., 187 Wn. App. 841, 849 (2015) (“The Fair Credit Reporting Act is
14
     designed so that violations can be enforced as a consumer protection violation.”). And, the WCPA
15

16 does provide a private right of action. E.g., Peoples v. United Servs. Auto. Ass’n, 194 Wn.2d 771,

17 777 (2019) (“the legislature amended the [W]CPA to provide for a private right of action whereby

18 individual citizens would be encouraged to bring suit to enforce the [act].”); Hangman Ridge Training

19
     Stables v. Safeco Title Ins. Co., 105 Wn.2d 778, 784 (1986) (“the State Legislature in 1970 amended
20
     the [W]CPA to provide for a private right of action whereby individual citizens would be encouraged
21
     to bring suit to enforce the [W]CPA.”); RCW 19.86.090.
22

23              Thus, the pro se claim of a WFCRA violation is a WCPA violation, which in turn has a private

24 right of action.

25
                Second, the Motion to Dismiss argues that there are factual insufficiencies regarding the state
26
27 law claims. Dkt.20 at 11 (“does not plead sufficient facts”). However, as discussed above, regarding

28 the federal claims, the Motion to Dismiss misconstrues these factual allegations as legal conclusions.
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 1              They are not pure legal conclusions. Rather, they are factual allegations which must be taken

 2 as true. And, if Defendant wants more details in the pleading, that’s a Rule 12(e) motion for a more

 3
     definite statement, not a Rule 12(b) motion to dismiss, as discussed above. See Section III.A, supra.
 4
     Regardless, leave to amend so as to plead additional factual allegations is proper given the motion to
 5
     dismiss factual insufficiency arguments regarding the pro-se drafted complaint. See Section IV,
 6

 7 infra.

 8
                Third, the Motion to Dismiss argues that the Initial complaint fails to allege causation and
 9
     damage to business. Dkt.20 at 11 (“must still sufficiently allege facts showing causation and damage
10

11 to business[.]”). Defendant simply fails to grasp Washington law. The damage to business is the

12 falsehood in the credit report—and that falsehood is the caution of that harm to property. E.g.,

13 Handlin v. On-Site Manager, Inc., 187 Wn. App. 841, 844 (2015) (Becker, J.) (“The element of injury

14 to business or property in a consumer protection action is sufficiently pleaded when a consumer

15
     reporting agency unlawfully withholds information from a person who is entitled to receive it.); id. at
16
     850-851(“violations of the Fair Credit Reporting Act deprived the Handlins of their right to obtain
17
     information that has commercial utility for them [...] Their complaint sufficiently alleges that On-
18

19 Site's unfair trade practice caused them an actionable ‘injury’ to ‘property’ in the sense that those

20 terms are used in the Consumer Protection Act.”).

21
                Fourth, the Motion to Dismiss says that the complaint fails to state a WCPA claim. Dkt.20
22

23 at 12. Yet that’s irrelevant because Plaintiff’s complaint can still (and does) allege a per se WCPA

24 claim by virtue of the WFCRA claim. Cf. Genschorck v. Suttell & Hammer, P.S., 2013 U.S. Dist.

25 LEXIS 165826, *8 (E.D.W.A. Nov. 21, 2013) ("When a violation of debt collection regulations

26
     occurs, it constitutes a per se violation of the CPA.”); Panag v. Farmers Ins. Co. of Wash., 166 Wn.2d
27
     27, 43 (2009) (“per se violation of the CPA”); Feldmann v. Lakeview Loan Servicing LLC, 2021
28
                                                         18
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 1 U.S. Dist. LEXIS 80336, *16 (W.D. Wash. April 27, 2021) (“Washington courts have concluded that

 2 violations of Washington's Fair Credit Reporting Act constitute per se violations of the public interest

 3
     element of the CPA.”).
 4
                Fifth, the Motion to Dismiss raises unavailing preemption arguments.              Dkt.20 at 12
 5
     (“preempts any such claims.”). Those preemption arguments would only apply to furnisher claims.
 6

 7 The problem, for Defendant, is that there are no furnisher claims under Washington State law to be

 8 preempted. As such, Defendant’s preemption arguments attack, not just a strawman, but a ghost.

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 1   IV.        EVEN IF THE COURT WERE TO GRANT THE MOTION ON THE MERITS, LEAVE TO AMEND
                SHOULD STILL BE GRANTED TO AS THE PRO SE COMPLAINT.
 2
                Even if this Court does not deem Defendant’s motion to dismiss as moot or meritless,
 3

 4 dismissal of the entire action is still not warranted. In this Circuit, leave to amend should still be

 5 granted here because additional facts could address purported factual insufficiencies. Ninth Circuit

 6 law makes clear that Plaintiff should be afforded an opportunity to allege additional facts addressing

 7 purported factual insufficiencies in the operative pro se complaint.

 8
           First, as an initial matter, leave to amend should be freely given. E.g., Owens v. Kaiser Found.
 9
   Health Plan, Inc., 244 F.3d 708, 712 (9th Cir. 2001) (“Generally, Rule 15 advises the court that leave
10
   shall be freely given when justice so requires. This policy is to be applied with extreme liberality.");
11

12 Morongo Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990) (“extreme

13 liberality”); Foman v. Davis, 371 U.S. 178, 182 (1962) (“Rule 15 (a) declares that leave to amend

14 ‘shall be freely given when justice so requires’; this mandate is to be heeded.”); MOORE’S FEDERAL

15
     PRACTICE - CIVIL § 15.14 (2024) (“A liberal, pro-amendment ethos dominates the intent and judicial
16
     construction of Rule 15(a)(2).”).
17
                Second, it is commonplace and ordinary practice in the Ninth Circuits for Plaintiffs to file
18

19 motions to amend, after reviewing and in response to a motion to dismiss. E.g., Umouyo v. Bank of

20 Am. NA, 2022 U.S. Dist. LEXIS 120758, *1 (W.D. Wash. July 1, 2022) (“In the Ninth Circuit, the

21 filing of an amended complaint supersedes the original complaint and renders it without legal effect.

22 Courts often apply this rule to motions to dismiss a complaint that has since been superseded and

23
     deny such motions as moot.”); Bisson v. Bank of Am., N.A., 2012 U.S. Dist. LEXIS 165084, *3
24
     (W.D. Wash. Nov. 16, 2012) (“Courts often apply this rule to motions to dismiss a complaint that has
25
     since been superseded and deny such motions as moot.”) (collecting cases); id. (“The Amended
26
27 Complaint appears to respond directly to many of the concerns raised by Defendants’ motion to

28 dismiss.”); 6 Miller, Federal Practice and Procedure § 1476 (3d ed. 2012) (“[I]f the first complaint is
                                                    20
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 1 considered superseded by the amendment, the court is not required to dismiss the suit when a motion

 2 points to the weaknesses of the earlier pleading[.]”). The Motion’s misunderstands that ordinary

 3
     process contemplates a defendant filing a motion to dismiss and then Plaintiff amending to add
 4
     allegations to address any purported factual deficiencies.
 5
                Third, indeed, even after a successful motion to dismiss, the Ninth Circuit’s jurisprudence
 6

 7 makes clear that amendment should still be permitted if additional factual allegations could cure any

 8 defects. After all, Ninth Circuit law makes clear that leave to amend should be granted if additional

 9 facts could address factual insufficiencies alleged in a motion to dismiss. See e.g. Harris v. Amgen,

10 Inc., 573 F.3d 728, 737 (9th Cir. 2009) (“Dismissal without leave to amend is improper unless it is

11
     clear that "the complaint could not be saved by any amendment.”); Id. At 731 (“We also conclude
12
     that the district court improperly denied Plaintiffs leave to amend their complaint to add more factual
13
     allegations where necessary[.]”); Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th
14

15 Cir. 2003) (“Dismissal with prejudice and without leave to amend is not appropriate unless it is clear

16 on de novo review that the complaint could not be saved by amendment.”); Lee v. City of Los

17 Angeles, 250 F.3d 668, 692 (9th Cir. 2001) (“Under our case law, dismissal without leave to amend

18 is improper unless it is clear, upon de novo review, that the complaint could not be saved by any

19
   amendment.”); Chappel v. Laboratory Corp. of Am., 232 F.3d 719, 723-724 (9th Cir. 2000)
20
   (“Dismissal for failure to state a claim is proper only if it is clear that the plaintiff cannot prove any
21
   set of facts in support of the claim that would entitle him or her to relief.”); Harmoni Int'l Spice, Inc.
22

23 v. Hume, 914 F.3d 648, 654 (9th Cir. 2019) (“Because the complaint could potentially be saved by

24 amendment, the district court should have granted Harmoni leave to amend.”); Crescent Mine, LLC

25 v. Bunker Hill Mining Corp., 2022 U.S. Dist. LEXIS 37432, *23 (D. Idaho March 2, 2022) (“the

26
     Court will grant leave to amend because Crescent has not adequately alleged its facts, but may cure
27
     such deficiencies through amendment.”); Hardesty v. Sacramento Metro. Air Quality Mgmt. Dist.,
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 1 2012 U.S. Dist. LEXIS 44311, *8-9 (E.D.Cal. March 29, 2012) (“the Ninth Circuit's admonition that

 2 district courts should grant leave to amend when dismissing a case for failure to state a claim, unless

 3
     the court determines that the pleading could not possibly be cured by the allegations of other facts.”);
 4
     3 Moore's Federal Practice - Civil § 15.14 (2024) (“two circuits have ruled that a district court must,
 5
     before dismissing for failure to state a claim, grant leave to amend, and must do so even if no request
 6

 7 to amend the pleading was made.”) (discussing approach adopted by the Ninth and Third Circuits).

 8              Fourth, that’s especially so where, as here, a motion to address is alleging factual

 9 insufficiencies in a pro-se drafted complaint. See, e.g., Ferdik v. Bonzelet, 963 F.2d 1258, 1261

10 (9th Cir. 1992) (“before dismissing a pro se complaint the district court must provide the litigant with

11
     notice of the deficiencies in his complaint in order to ensure that the litigant uses the opportunity to
12
     amend effectively.”); Krier v. Ray, 341 F. App’x 295, 297 (9th Cir. July 9, 2009) (“Before a district
13
     court may dismiss a pro se complaint for failure to state a claim, the court must provide the pro se
14

15 litigant with notice of the deficiencies of his or her complaint and an opportunity to amend the

16 complaint prior to dismissal.”); Hundley v. Aranas, 2023 U.S. App. LEXIS 731, *4-5 (9th Cir. Jan.

17 12, 2023) (“it is not ‘absolutely clear’ that an amendment would not cure the deficiencies in her

18 handwritten pro se complaint. This is especially true because Hundley is now represented by

19
   counsel.”); Chiu v. Iu Mien Church, 2023 U.S. Dist. LEXIS 226835, *2 (E.D. Ca. Dec. 20, 2023) (“A
20
   pro se litigant is entitled to notice of the deficiencies in the complaint and an opportunity to amend
21
   unless the complaint's deficiencies cannot be cured by amendment.”); Menjivar v. JVCKenwood USA
22

23 Holdings, Inc., 2024 U.S. Dist. LEXIS 71349, *5 (C.D. Cal. April 17, 2024) (“Before dismissing a

24 pro se complaint the district court must provide the litigant with notice of the deficiencies in his

25 complaint in order to ensure that the litigant uses the opportunity to amend effectively.”).

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 1              Here, additional facts could address the perceived or alleged factual insufficiencies raised by

 2 Defendant’s Motion to Dismiss.             Defendant’s Motion harps on a series of supposed factual
 3
     insufficiencies in th pro-se drafted complaint. See, e.g., Dkt.20 at 1 (“Factual content”); Dkt.20 at 2
 4
     (“without providing any additional facts”); Dkt. 20 at 5 (“well pleaded facts”); Dkt. 20 at 7 (“fails to
 5
     plead facts”); Dkt. 20 at 8 (“fails to allege any facts”); Dkt. 20 at 9 (“fall to allege facts”). Under
 6

 7 Ninth Circuit jurisprudence, amendment should be permitted to afford Plaintiff the opportunity to

 8 allege additional facts to address the purported factual deficiencies identified in the Motion. And,

 9 under Ninth Circuit jurisprudence, a pro-se drafted complaint should be afforded the opportunity to

10 be cured by amendment. That’s “especially true because [Mr. Leavitt] is now represented by

11
     counsel.” E.g., Hundley v. Aranas, 2023 U.S. App. LEXIS 731, *4-5 (9th Cir. Jan. 12, 2023).
12
                As such, even if Defendant’s were to prevail on their motion to dismiss the pro-se drafted
13
     complaint, leave to amend should still be granted because additional facts (pleaded by Mr. Leavitt’s
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15 since-retained non-profit counsel) could address these alleged factual insufficiencies.

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 1                                                 CONCLUSION

 2              For the foregoing reasons, the motion to dismiss should be denied as moot, stricken for failure
 3 to comply with meet and confer, denied on the merits, or, in the alternative, leave should be granted

 4 to amend.

 5
      Date: June 25, 2024                            Respectfully submitted,
 6

 7                                                   DIGITAL JUSTICE FOUNDATION
                                                     A NONPROFIT, PUBLIC-INTEREST LAW FIRM
 8
                                                      By /s/ Andrew Grimm
 9                                                       Andrew Grimm (WSBA No. 51486)
                                                         DIGITAL JUSTICE FOUNDATION
10                                                       15287 Pepperwood Drive
11                                                       Omaha, Nebraska 68154
                                                         (531) 210-2381
12                                                       Andrew@DigitalJusticeFoundation.org

13                                                        Attorney for Plaintiff
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 1                                           CERTIFICATE OF COMPLIANCE

 2              I hereby certify that this filing contains 6,179 words of argument.
 3

 4
     Dated: June 25, 2024                           Respectfully submitted,
 5
                                                      /s/ Andrew Grimm
 6                                                    Andrew Grimm
 7
                                              CERTIFICATE OF SERVICE
 8

 9              I hereby certify that I served the foregoing via CM/ECF.

10

11 Dated: June 25, 2024                             Respectfully submitted,
12
                                                      /s/ Andrew Grimm
13                                                    Andrew Grimm

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